
WALDEN, Chief Judge
(dissenting):
It is my view that the judgment in favor of plaintiffs should be reversed and remanded for a new trial. This is a negligence case. The trial court directed a verdict in favor of plaintiffs as a matter of law. I feel that this was error because from the facts, circumstances and allowable inferences there was a negligence question as concerns plaintiffs’ conduct which could only be properly resolved by the jury. This was appellant’s first point.
As to appellant’s second point suggesting that the proceedings impermissibly made possible a double recovery so as to constitute error, I agree. However, appellant either contributed to or acquiesced in such trial errors and did not preserve the matters for appellate review. Thus, I am of the opinion that this point would not be sufficient to warrant reversal.
With this, I respectfully dissent from the majority decision to affirm, and would reverse and remand for a new trial.
